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                            No. 23-35136


In The United States Court Of Appeals
       For The Ninth Circuit
                   MAVERICK GAMING LLC,
                                                     Plaintiff – Appellant,
                                  v.
            UNITED STATES OF AMERICA, et al.,
                                                  Defendants – Appellees,
                  SHOALWATER BAY TRIBE,
                                       Intervenor – Defendant – Appellee.

   On Appeal From the United States District Court for the
              Western District of Washington
               Case No. 3:22-cv-05325-DGE
                The Honorable David G. Estudillo


       REPLY BRIEF OF PLAINTIFF-APPELLANT
              MAVERICK GAMING LLC


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                             INTRODUCTION

     The Administrative Procedure Act (“APA”) establishes the right to

judicial review of illegal and unconstitutional federal governmental ac-

tion and waives federal sovereign immunity to ensure the vindication of

that right. The Shoalwater Bay Tribe (“Tribe”), however, asks this Court

to adopt an extreme interpretation of Rule 19 that would radically trans-

form APA litigation, foreclosing judicial review of all manner of federal

agency action. On every legal issue presented in this case, the Tribe and

the federal government are fully aligned. Yet, under the Tribe’s theory,

that is not sufficient. According to the Tribe, any sovereign—Tribe,

State, or foreign country—has the power to insulate federal agency action

from judicial review. That is not the law.

     The Tribe largely relies on Dine Citizens Against Ruining Our En-

vironment v. Bureau of Indian Affairs, 932 F.3d 843 (9th Cir. 2019), and

Klamath Irrigation District v. U.S. Bureau of Reclamation, 48 F.4th 934

(9th Cir. 2022). The Tribe asks this Court to expand those cases—both

of which involve the unique interplay between Indian interests and the

federal government’s duties under environmental statutes—into blanket

rules that hand sovereigns the power to veto judicial review of illegal
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governmental actions. But this lawsuit is fundamentally different from

those cases. Here, the federal defendants do not have any competing in-

terests under the relevant statute—to the contrary, the relevant provi-

sions of IGRA all push the federal defendants toward a position in sync

with the Tribe. Unsurprisingly, the Tribe is unable to identify a single

merits argument it would advance in this litigation that the federal de-

fendants would not. They are in perfect harmony.

     Extending Dine Citizens and Klamath to this new context would

put the Court squarely at odds with the rule in other Circuits, with other

cases decided by this Court, and with the longstanding position of the

United States. Additionally, the consequences of this expansion would

be severe and unworkable. Anytime federal agency action benefits a sov-

ereign—whether an Indian tribe, a State, or a foreign nation or instru-

mentality—that sovereign will be able to force dismissal. That means

sovereign entities will be able to wield Rule 19 as a sword, shutting down

judicial review of all manner of APA claims—constitutional, statutory, or

administrative.




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     The Court should reject the Tribe’s attempt to short-circuit this lit-

igation and remand for the district court to consider Maverick’s constitu-

tional, statutory, and administrative claims.

                                ARGUMENT

I.   The Tribe Is Not A Required Party Under Rule 19(a).

     A.    Disposing Of This Action In The Tribe’s Absence Would
           Not Impair The Tribe’s Ability To Protect Its Interests.

           1.     The Federal Defendants Adequately Represent
                  The Tribe’s Interests.

     a. The Tribe is not a required party under Rule 19(a) because “‘[t]he

United States can adequately represent an Indian tribe unless there ex-

ists a conflict of interest between the United States and the tribe,’” and

here the Tribe cannot “demonstrate how such a conflict might actually

arise in the context of this case.” Washington v. Daley, 173 F.3d 1158,

1167–68 (9th Cir. 1999); Opening.Br.27–31.

     Indeed, although many cases have considered APA challenges to

IGRA compacts like this one, see Opening.Br.28–30 (citing cases), the

Tribe cannot point to a single IGRA challenge where the federal govern-

ment and the absent tribe were making the same arguments, yet the ab-

sent tribe was held to be a required party.


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     The federal government agrees that “the United States is the only

required defendant to a claim challenging final agency action.” U.S.Br.2;

see also U.S.Br.23 (“[H]olding that non-federal entities are necessary for

an APA action to proceed undermines Congress’ decision to waive the

United States’ sovereign immunity for suits brought under the APA and

could sound the death knell for any judicial review of executive deci-

sionmaking.”) (cleaned up). As the United States recently explained to

the Supreme Court, “where, as here, the government defends its action

on the legal and factual grounds on which that action was based, the gov-

ernment’s defense ordinarily will ‘as a practical matter’ sufficiently ‘pro-

tect’ an ‘interest relating to the subject of the [suit].’” U.S. Br. 23, Kla-

math Irrigation Dist. v. U.S. Bureau of Reclamation, 2023 WL 6367584,

No. 22-1116 (U.S. Sept. 27, 2023).

     The Tribe and the district court below took the stunning position

that a conflict exists here because, if the compacts were invalidated, then

the United States’ interest in upholding federal law would conflict with

the Tribe’s desire to violate that law by offering class III gaming without

a valid compact. See ER-14. But Rule 19 is concerned only with “legally

protected interest[s].” Makah Indian Tribe v. Verity, 910 F.2d 555, 558

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(9th Cir. 1990). The Tribe has no cognizable “‘interest in continuing prac-

tices’ that violate” federal law. Issa v. Sch. Dist. of Lancaster, 847 F.3d

121, 143 (3d Cir. 2017).

     On appeal, the Tribe has wisely abandoned that position. The Tribe

now points to a different argument that it claims it would make and the

United States would not: that tribes can lawfully offer class III gaming

even without a compact. Tribe.Br.23. That argument fails twice over.

First, it is irrelevant because it would arise only in a future enforcement

action, not in this case. Second, it is manifestly wrong.

     First, the argument is irrelevant because the Tribe does not demon-

strate any conflict “in the context of this case.” Daley, 173 F.3d at 1168

(emphasis added). The only relevant interest for Rule 19 is the “interest

in the adjudication of the underlying merits of [the] suit.” Sw. Ctr. for

Biological Diversity v. Babbitt, 150 F.3d 1152, 1154 (9th Cir. 1998) (per

curiam). The merits of this case focus on whether the Secretary of the

Interior validly approved the compacts at issue. That question has noth-

ing to do with the Tribe’s insistence that—in the future and outside the

context of this case—it will continue to offer class III gaming even if a

court invalidates the compacts. The Tribe therefore has not shown any

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conflict in the context of this case. Rather, it has simply asserted that it

may have defenses against future enforcement actions that may (or may

not) arise after a judgment in Maverick’s favor. That is not sufficient to

demonstrate a conflict with the United States in the context of this case,

where the Tribe and the federal defendants are aligned on every issue

presented.1

     The state defendants, meanwhile, suggest that the Tribe might of-

fer discovery that no other party would offer. Washington.Br.34–35. Not

so: as the parties have stipulated, this case “presents questions of law

that appear to be resolvable through dispositive motions . . . without the

need for factual discovery.” ER-128. The state defendants note that Mav-

erick “filed an expert report” with its summary-judgment motion, Wash-

ington.Br.35, but those materials simply establish standing; they do not

necessitate any discovery, let alone discovery that only the Tribe could

conduct.



1
 The Tribe argues that there is a conflict in this litigation because one of
the forms of relief that Maverick has requested is a declaration that the
Tribe’s gaming activities are unlawful. Tribe.Br.29. But even if that
were relevant—which it is not—the solution under Rule 19 is simply to
“shap[e] the relief ” to avoid any prejudice to the Tribe. Fed. R. Civ. P.
19(b)(2)(B).
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     Second, the Tribe’s position fails for the additional reason that—as

the Tribe itself concedes—only “reasonable” arguments can demonstrate

inadequacy of representation. Tribe.Br.26–27. There is nothing reason-

able about the Tribe’s frivolous argument that tribes can lawfully offer

Class III gaming absent a compact. The text of IGRA is clear: “Class III

gaming activities shall be lawful on Indian lands only if such activities

are . . . conducted in conformance with a Tribal-State compact . . . that is

in effect.” 25 U.S.C. § 2710(d)(1)(C) (emphasis added). Absent a compact,

numerous criminal statutes unambiguously prohibit offering Class III

gaming on Indian lands.         See, e.g., 15 U.S.C. § 1175(a); 18 U.S.C.

§ 1166(c)(2); 25 U.S.C. § 2710(d)(6); see also Opening.Br.50. This Court

has recognized this principle: “Class III gaming is permitted on Indian

lands only if, inter alia, a tribe and the state enter a tribal-state compact

that the Secretary of the Interior then approves.”              Chicken Ranch

Rancheria of Me-Wuk Indians v. California, 42 F.4th 1024, 1032 (9th Cir.

2022). That is why the United States “enforce[d]” federal law against the

Tribe when it attempted to illegally offer gambling operations without a

compact in the 1990s. Tribe.Br.7–9.




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     The Tribe nevertheless maintains that its argument is not frivo-

lous, pointing to United States v. Spokane Tribe of Indians, 139 F.3d 1297

(9th Cir. 1998). Tribe.Br.27–28. But the Tribe misreads that case. Spo-

kane Tribe held only that the United States could not seek an injunction

against a Tribe offering illegal gambling under IGRA “when [a] state[ ]

refuse[s] to negotiate” with the Tribe. 139 F.3d at 1302. That holding

involves only the circumstances under which the United States may en-

force IGRA via injunction, which is a completely separate question from

whether the Tribe possesses the “right to offer Class III gaming” absent

a compact. Tribe.Br.23 (heading altered). This distinction is clear from

Spokane Tribe’s reiteration of the legal rule: “[w]ithout a compact in

place, a tribe may not engage in class III gaming.” 139 F.3d at 1299 (em-

phasis added).

     Moreover, this Court has explained that Spokane Tribe’s limitation

on seeking an injunction does not apply where the “considerations at is-

sue” in Spokane Tribe—namely, a State refusing to negotiate—are ab-

sent. Hein v. Capitan Grande Band of Diegueno Mission Indians, 201

F.3d 1256, 1260 n.8 (9th Cir. 2000). And in any event, Spokane Tribe

itself acknowledged that the federal government could still enforce

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federal law against illegal tribal gambling operations by seeking “fines,

imprisonment and confiscation of gambling devices.” 139 F.3d at 1302

n.7; see also United States v. 1020 Elec. Gambling Machs., 38 F. Supp. 2d

1219, 1223 (E.D. Wash. 1999) (Spokane Tribe does not apply when the

federal government “is seeking forfeiture”). Spokane Tribe is no help to

the Tribe’s argument.

     In short, the only tribal interest that is actually implicated in this

case is the validity of the Tribe’s compact and the amendments thereto.

None of the defendants provides any explanation for how the United

States’ representation would be inadequate on this issue. In fact, the

Tribe still fails to identify any merits argument it would raise in this case

that the federal defendants would not.

     Instead, the Tribe argues that, even if the federal defendants are

adequate representatives for count I (Maverick’s APA claim), they are

inadequate representatives for counts II and III (the claims against the

state defendants). But count II advances the same legal arguments as

count I, see ER-116–20, and, as explained further below, count III does

not implicate tribal interests at all because it does not challenge any

tribal compacts, see infra at 21–23; Opening.Br.47–48.

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     The state defendants, for their part, conjecture that there might be

a conflict in the future because of “a change in administrations.” Wash-

ington.Br.29. But no defendant gives any reason to think that a new

administration would change the United States’ longstanding position.

The United States has always maintained its current legal position,

across administrations of both political parties. See, e.g., U.S. Br. in Op-

position at 7–21, Artichoke Joe’s v. Norton, 2004 WL 1791354, No. 03-

1602 (U.S. Aug. 2, 2004). And in any event, the state defendants provide

no authority for the proposition that a hypothetical change in presiden-

tial administrations at some time in the future could possibly be enough

to render the federal government an inadequate representative now—a

proposition that, if true, would mean the federal government could never

be an adequate representative.

     In sum, the Tribe cannot show an actual conflict with the federal

defendants that is likely to arise in the context of this case, and it thus is

not a required party under Rule 19(a).

     b. Next, as Maverick demonstrated in its Opening Brief, this Court

has recognized that there is a presumption of adequate representation

when: (1) the parties have the same ultimate objective; (2) the

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government is defending its own action; or (3) the government is charged

by law with representing the absentee’s interests. See Opening.Br.31–

39. The Tribe’s attempts to evade these overlapping presumptions—all

of which underscore the federal government’s adequacy here—fail.

     First, the Tribe argues that these presumptions apply under Rule

24 but not Rule 19. Tribe.Br.36–37. That is a nonstarter: “In assessing

an absent party’s necessity under Fed. R. Civ. P. 19(a), the question

whether that party is adequately represented parallels the question

whether a party’s interests are so inadequately represented by existing

parties as to permit intervention of right under Fed. R. Civ. P. 24(a).”

Shermoen v. United States, 982 F.2d 1312, 1318 (9th Cir. 1992); Open-

ing.Br.32 n.9. The Tribe’s contention that Rule 19 “has no” adequate-

representation provision (Tribe.Br.36) misunderstands the rule and

flatly contradicts the bevy of caselaw holding that a party is not “re-

quired” under Rule 19(a) if an existing party adequately represents its

interests. See, e.g., Opening.Br.27–31 (collecting cases). In fact, the Rule

19 standard is harder for the Tribe to satisfy than the Rule 24 standard,

as the Tribe itself argued below. See Dkt. 68 at 10 n.4 (arguing in inter-

vention motion that “the Rule 24 standard is more liberal” than Rule 19).

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     Second, the Tribe asserts that “the Supreme Court has recently

called all of these articulated presumptions in the context of Rule 24 into

doubt.” Tribe.Br.37 (citing Berger v. N.C. State Conf. of the NAACP, 142

S. Ct. 2191 (2022)). But the Supreme Court in Berger expressly made

clear that it was not abrogating any of the presumptions applicable in

this case, instead stating: “[T]o resolve this case we need not decide

whether a presumption of adequate representation might sometimes be

appropriate when a private litigant seeks to defend a law alongside the

government or in any other circumstance.” 142 S. Ct. at 2204. The Tribe

also cites this Court’s decision in Callahan v. Brookdale Senior Living

Communities, Inc., Tribe.Br.37, but there, too, the court “offer[ed] no

opinion as to whether [the ‘same ultimate objective’ presumption] re-

mains good law.” 42 F.4th 1013, 1021 n.5 (9th Cir. 2022).

     c. Ultimately, the Tribe’s chief contention is that Dine Citizens

Against Ruining Our Environment v. Bureau of Indian Affairs, 932 F.3d

843 (9th Cir. 2019), and Klamath Irrigation District v. U.S. Bureau of

Reclamation, 48 F.4th 934 (9th Cir. 2022), worked a doctrinal sea change.

According to the Tribe, those two cases swept away this Court’s numer-

ous decisions holding that the United States is an adequate

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representative, and at the same time handed Indian tribes a newfound

power to preclude judicial review of any federal agency action that impli-

cates tribal interests. Tribe.Br.33–34. That is a drastic overreading of

those cases. Opening.Br.39–47.

     As even the Tribe is forced to concede, Dine Citizens and Klamath

stand only for the proposition that “federal defendants are unable to ad-

equately represent an absent tribe where their obligations to follow rele-

vant laws are in tension with tribal interests” in a particular case.

Tribe.Br.30. As Maverick explained in its Opening Brief, there is no such

tension here. Both the Tribe and the United States believe that the com-

pacts comport with federal law. Opening.Br.42–43.

     The state defendants accuse Maverick of arguing that Dine Citizens

and Klamath are “applicable only in environmental cases.” Washing-

ton.Br.31. That is not Maverick’s argument. Rather, Maverick’s position

is that the federal government in those cases had competing statutory

obligations that were in tension with the Tribe’s interests. In Dine Citi-

zens, the federal government had an “overriding interest . . . in complying

with environmental laws such as NEPA and the ESA.” 932 F.3d at 855;

see also Jamul Action Comm. v. Simermeyer, 974 F.3d 984, 997 (9th Cir.

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2020) (characterizing Dine Citizens as a case where the federal defend-

ants’ “obligations to follow relevant environmental laws were in tension

with tribal interests”). Likewise, in Klamath, the federal government’s

“primary interest” was in “defending its interpretations of its obligations

under the” Endangered Species Act, not in protecting tribal “reserved wa-

ter and fishing rights.” 48 F.4th at 944–45.

     IGRA, by contrast, requires the Secretary to assess whether a com-

pact comports with “the trust obligations of the United States to Indi-

ans”—and to disapprove any compact that violates those obligations. 25

U.S.C. § 2710(d)(8)(B)(iii). Thus, when the Secretary defends the legality

of an IGRA tribal-state compact that the Secretary has already approved,

the government’s position is “‘necessarily coincidental with the interest

of the Tribe.’” Dine Citizens, 932 F.3d at 855. Maverick’s argument does

not depend on the fact that the competing statutory obligations in Dine

Citizens and Klamath were environmental in nature. Instead, Maverick’s

argument is that here, unlike in those cases, all of the federal defendants’

statutory obligations are in harmony with the Tribe’s interest in offering

class III gaming pursuant to the compact that the federal defendants ap-

proved.

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     Indeed, the state defendants concede that “the Secretary of the In-

terior only has authority to disapprove compacts entered into by Indian

tribes and states based on a narrow and exclusive set of statutory fac-

tors.” Washington.Br.28. On each one of those three factors—compliance

with IGRA, compliance with other federal law, and compliance with the

federal government’s trust obligation to Indian tribes, see 25 U.S.C.

§ 2710(d)(8)(B)—the Tribe and the federal defendants are completely

aligned. See ER-80. Because there is no tension in this case, Dine Citi-

zens and Klamath are inapposite.

     Extending Dine Citizens and Klamath outside of their contexts to

this case would effectively establish a per se rule that lawsuits implicat-

ing tribal (or any other sovereign) interests must be dismissed even when

the federal government’s interest on every issue is fully aligned. Such a

ruling would be inconsistent with this Court’s numerous cases holding

that the federal government generally can protect the interests of absent

Indian tribes in an APA challenge to federal agency action. See, e.g., Alto

v. Black, 738 F.3d 1111, 1127–29 (9th Cir. 2013); Daley, 173 F.3d at 1167–

69; Sw. Ctr. for Biological Diversity, 150 F.3d at 1153–54. This Court is

“required to reconcile prior precedents,” Danielson v. Inslee, 945 F.3d

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1096, 1099 (9th Cir. 2019) (emphasis added), not expand certain prece-

dents to eliminate others.

        The Tribe denies that its position would create a categorical rule

that any APA case involving an Indian tribe would need to be dismissed

under Rule 19. Tribe.Br.19 n.7. But the Tribe never gives any indication

of what sort of case would escape its desired rule. The answer is that, if

this action—in which the United States and the absent Tribe are in per-

fect accord—must be dismissed, then there is no APA claim involving an

Indian tribe that could proceed to judicial review over the tribe’s objec-

tion.

        Such a ruling would also deepen a conflict with cases from other

circuits holding that the United States is generally an adequate repre-

sentative in APA challenges to federal agency action. See, e.g., Sac & Fox

Nation of Mo. v. Norton, 240 F.3d 1250, 1258–59 (10th Cir. 2001); Ramah

Navajo Sch. Bd., Inc. v. Babbitt, 87 F.3d 1338, 1350–52 (D.C. Cir. 1996).

As the federal government points out, Dine Citizens and Klamath already

deviate from the law of other circuits. U.S.Br.11. This Court has a “pref-

erence for avoiding circuit splits,” United States v. Dupas, 417 F.3d 1064,




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1072 (9th Cir. 2005), and it should minimize the conflict with other courts

by declining to extend those cases to this new context.

        A ruling allowing tribes to veto judicial review would also have stag-

gering real-world implications. For example, in the wake of the Supreme

Court’s decision in McGirt v. Oklahoma, 140 S. Ct. 2452 (2020), the State

of Oklahoma sought declaratory judgment under the APA, arguing that

it retained jurisdiction to regulate surface coal mining and reclamation

operations within Indian reservations. Oklahoma v. U.S. Dep’t of the In-

terior, 640 F. Supp. 3d 1110, 1114 (W.D. Okla. 2022). Yet if the Tribe’s

interpretation of Rule 19 were accepted, an absent tribe could prevent a

federal court from ever deciding such an important question of federal-

state jurisdiction by asserting its interests in the litigation, even if the

federal government adequately protects those interests.

        This immunization of governmental action from judicial review

would not be limited to actions that implicate tribal interests. States

could invoke their sovereign immunity to obtain dismissals of challenges

to federal action in which they have an interest, such as joint federal-

state programs. Thus, the state amici who supported the Affordable Care

Act’s     Medicaid     expansion—which          the    Supreme       Court      held

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unconstitutional, NFIB v. Sebelius, 567 U.S. 519, 575–85 (2012)—could

have obtained dismissal of the plaintiffs’ meritorious challenge out of the

gate by asserting that their interest in the receipt of expanded Medicaid

funding was inadequately represented under Rule 19.

     Foreign states and their instrumentalities would also be able to de-

ploy the Tribe’s interpretation of Rule 19 to prevent litigants from having

their day in court. An instrumentality of Hungary, for example, recently

raised a Rule 19 objection to “a family’s decades-long effort to recover a

valuable art collection that the World War II-era Hungarian government

and its Nazi collaborators seized during their wholesale plunder of Jew-

ish property during the Holocaust.” De Csepel v. Republic of Hungary, 27

F.4th 736, 739 (D.C. Cir. 2022). The D.C. Circuit rejected the Rule 19

argument because it found that, “[a]t bottom, both Hungary and the re-

maining defendants seek the same result,” so Hungary’s interests were

adequately represented. Id. at 748. But under the Tribe’s view of Rule

19, such cases would have to be dismissed.

     Rule 19 is meant to protect absent parties from the prejudice flow-

ing from their absence; it is not meant to confer a veto power over a broad

array of cases where a party’s interests are already well-defended. The

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goal “is to avoid dismissal whenever possible.” 7 Wright & Miller, Fed.

Practice & Proc. § 1604 (3d ed.). This Court should reject the Tribe’s at-

tempt to weaponize Rule 19.

     d. The federal defendants agree that they are adequate represent-

atives for count I, and further take the position that Dine Citizens and

Klamath were wrongly decided. U.S.Br.24–32. Yet they take the curious

position that the two cases should be extended outside of their narrow

context and should apply as a blanket rule in all cases involving an In-

dian tribe. But the conflict between those cases on the one hand and the

position of the United States and other courts across the country on the

other calls for narrowly construing them—not reading them for all they

could possibly be worth. This Court should be skeptical of the United

States’ position that cases it believes were wrongly decided should nev-

ertheless be expanded in a way that would effectively immunize the

United States from suit in a wide array of APA cases.

     Next, the federal defendants agree that their “shared interest with

tribes in seeing agency action upheld adequately protects an absent

tribe’s interest in the resolution of an APA claim,” but contend that the

trust relationship between the federal government and Indian tribes is

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not the basis for that conclusion. U.S.Br.24–28. The federal defendants

acknowledge the existence of “a general trust relationship,” but argue

that they “ow[e] enforceable duties to a tribe” only when a treaty, statute,

or regulation says so. U.S.Br.25. But IGRA itself requires the Secretary

to disapprove any compact that “violates . . . the trust obligations of the

United States to Indians.” 25 U.S.C. § 2710(d)(8)(B)(iii). The federal de-

fendants note that “this provision simply provides the standards for the

Secretary’s review of compacts,” U.S.Br.28, but that is precisely the issue

in this case—IGRA itself aligns the federal defendants’ interests with the

Tribe’s.

     The federal defendants also argue that their interest is limited to

approving the compact amendments and defending the Secretary’s appli-

cation of “IGRA’s statutory standards” to those amendments. U.S.Br.29–

32. These distinctions make no difference here. Maverick is challenging

the validity of the compacts and compact amendments on the ground that

they violate IGRA’s statutory standards, which require the Secretary to

disapprove a compact or amendment if it violates any “provision of Fed-

eral law” or “the trust obligations of the United States to Indians.” 25

U.S.C. § 2710(d)(8)(B)(ii)–(iii). Maverick is not relying on “state law” or

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requirements “outside the purview of IGRA.” U.S.Br.31. Rather, Mav-

erick’s argument is that the compacts and amendments violate IGRA and

the U.S. Constitution, grounds that statutorily required the Secretary to

disapprove the compact amendments. ER-116–23. The federal defend-

ants’ interests in defending the Secretary’s approvals thus fully encom-

pass any defenses to Maverick’s claims in this case.2

           2.    One Of Maverick’s Claims Does Not Implicate
                 The Tribe’s Compact At All.

     Maverick’s third claim does not ask for any relief that would affect

the Tribe’s compact. That claim asks only for “a declaration that the De-

fendants’ continued enforcement of Washington’s criminal laws” against

Maverick is unconstitutional and for “an injunction prohibiting the De-

fendants from enforcing those laws against Maverick.” ER-122; Open-

ing.Br.47–48. Thus, even apart from the adequate-representation ques-

tion, count III can proceed without the Tribe.

     Neither of the Tribe’s responses is persuasive.




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  Even if this Court disagreed, this argument would implicate only count
II, because count I is already limited to challenging the Secretary’s ap-
proval of the compact amendments and count III does not implicate tribal
interests at all. See ER-116–18; Opening.Br.47–48.
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     First, the Tribe contends that the complaint “does not distinguish

between the Counts with respect to the remedies it seeks in its prayer for

relief.” Tribe.Br.13. But the prayer simply lists all the relief that Mav-

erick is seeking. ER-123. The third claim, meanwhile, specifically re-

quests relief that would allow Maverick to offer class III games in addi-

tion to the Tribe. ER-121. But even if the Tribe were right, that would

not make a difference because Rule 19 specifically encourages courts to

“shap[e] the relief ” to avoid any prejudice. Fed. R. Civ. P. 19(b)(2)(B).

     Second, the Tribe argues that severability principles counsel in fa-

vor of striking the compacts rather than enjoining the enforcement of

Washington’s criminal laws against Maverick. Tribe.Br.39–44. But sev-

erability analysis in equal-protection cases provides courts with exten-

sive discretion to shape the relief, given that the cases “can raise complex

questions about whether it is appropriate to extend benefits or burdens.”

Barr v. Am. Ass’n of Pol. Consultants, Inc., 140 S. Ct. 2335, 2354 (2020)

(plurality); Opening.Br.56–57. More fundamentally, the Tribe’s reliance

on this merits issue is premature. Whether or not Maverick can ulti-

mately obtain the relief it seeks, the Rule 19 question before the court is




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whether the relief Maverick seeks in its third claim implicates tribal in-

terests. Because it does not, that claim can proceed without the Tribe.

     B.    The Tribe’s Joinder Is Not Required To Accord Com-
           plete Relief.

     A party can also be necessary if “in [their] absence, the court cannot

accord complete relief among existing parties,” Fed. R. Civ. P. 19(a)(1)(A),

but that rule does not apply in this case. Complete relief means relief

that is “‘meaningful . . . as between the parties.’” Alto, 738 F.3d at 1126.

For an APA claim, that means “reversal or remand of the agency action.”

Id. at 1127. That bread-and-butter APA relief is available here, and

would provide complete relief as between Maverick and the defendants.

Opening.Br.48–50.

     The Tribe asserts that Maverick cannot obtain complete relief in its

absence because “the judgment would not be binding on the tribe, which

could assert its rights under the agreement and/or under IGRA to con-

tinue the operation of Class III gaming activities.” Tribe.Br.49–50. That

argument fails twice over.

     First, the Tribe misconceives the nature of APA relief: when agency

action is vacated, it is vacated across the board. See E. Bay Sanctuary

Covenant v. Biden, 993 F.3d 640, 681 (9th Cir. 2021); Opening.Br.49.
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Unlike in a typical contract case—where an absent party may still have

rights under a contract—relief in this case (vacating the Secretary’s ap-

proval of the compact amendments) would mean that there is no compact

authorizing sports betting.

      Second, no matter how the Tribe might react to a decision vacating

the Secretary’s approval of the compact amendments, vacatur would be

meaningful relief as between Maverick and the federal defendants—

which is where Rule 19 looks to determine whether “complete relief ” is

available. Alto, 738 F.3d at 1126.

II.   This Action Should Proceed In The Tribe’s Absence Under
      Rule 19(b).

      Even if this Court were to conclude that the Tribe is a “required”

party under Rule 19(a), “equity and good conscience” would still mean

that the suit should proceed under Rule 19(b). The Tribe’s contrary po-

sition would again require a per se rule preventing any suit that impli-

cates tribal interests from proceeding—even suits raising important pub-

lic-law questions of constitutional, statutory, and administrative law.

Rule 19 does not compel that perverse and dangerous result.




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     A.    All Four Rule 19(b) Factors Counsel Against Dismissal.

     Each of the four Rule 19(b) factors—prejudice, the ability to lessen

prejudice, adequacy of a judgment, and availability of an alternative fo-

rum—cuts in favor of allowing this suit to proceed. Opening.Br.51–60.

The Tribe fails to demonstrate otherwise.

     (1) Prejudice. The Tribe contends that it is prejudiced because

“Maverick seeks to ‘void’ the Tribe’s compact through which tribal oppor-

tunities and benefits from tribal governmental gaming directly flow.”

Tribe.Br.51. At the outset, as noted above, Maverick’s third claim does

not implicate the Tribe’s compact at all, so there is no prejudice with re-

gard to claim III. See supra at 21–23.

     For claims I and II, the Tribe commits the same error as the district

court by framing its prejudice in terms of how the result in this case could

affect it rather than how its absence from the case could do so. But “[t]he

first Rule 19(b) factor asks whether a party might suffer prejudice not

simply from an adverse result, but specifically from the decision being

‘rendered in [its] absence.’” De Csepel, 27 F.4th at 748. Because the fed-

eral government adequately represents the Tribe’s interests, as ex-

plained at length above, see supra at 3–23, the Tribe’s absence from this

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suit will not prejudice it. And even if this Court were to conclude that

the federal government’s representation would not be fully adequate, any

divergence of interests between the federal government and the Tribe

would be minimal—so any prejudice would likewise be minimal.

      (2) Extent to which prejudice could be lessened or avoided.

To the extent that any prejudice exists at all, the district court could eas-

ily avoid that prejudice by allowing the Tribe to participate as an amicus,

as 22 other nonparty tribes have done. See Opening.Br.53–54. The Tribe

offers no response to this argument.

      The nonparty amici tribes, meanwhile, erroneously suggest that

“[t]his Court has . . . held that ‘[a]micus status is not sufficient’ to lessen

prejudice.” Amicus.Br.27. But both cases that amici cite involved cir-

cumstances where the federal government was not a “proper representa-

tive because potential intertribal conflicts meant the United States could

not represent all of them.” Makah Indian Tribe v. Verity, 910 F.2d 555,

560 (9th Cir. 1990); see also Wichita & Affiliated Tribes of Okla. v. Hodel,

788 F.2d 765, 775 (D.C. Cir. 1986). Such a conflict does not exist here.

And in any event, even if amicus status were insufficient to cure the

greater prejudice inherent in those circumstances, it would not follow

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that amicus status is insufficient to cure any minimal prejudice that

might exist here.

     (3) Adequacy of judgment. For the same reasons that “complete”

relief is available, see supra at 23–24, a judgment for Maverick in this

case would also necessarily be “adequate.”           Opening.Br.55–57.        The

Tribe’s only response is to refer back to its arguments about (1) whether

a judgment on Maverick’s claim against the federal defendants would

bind the Tribe or prevent it from offering class III gaming and

(2) whether a judgment on Maverick’s third claim against the state de-

fendants would entitle Maverick to an injunction against enforcement of

Washington’s criminal laws. Tribe.Br.51. But as explained above, the

first argument ignores the nature of APA relief and the fact that vacatur

would afford Maverick complete relief as between Maverick and the de-

fendants, and the second argument turns on contested merits issues that

are not before this Court. See supra at 23–24.

     (4) Lack of alternative remedies. Confirming the breadth of its

legal theory, the Tribe contends that “there is no forum for a private

party’s legal challenge to the legality of a tribe’s gaming operation.”

Tribe.Br.51. That position should give this Court pause: a “decision

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under Rule 19 ‘not to decide’ a case otherwise properly before the court is

a power to be exercised only ‘in rare instances,’” Nanko Shipping, USA v.

Alcoa, Inc., 850 F.3d 461, 465 (D.C. Cir. 2017) (alteration omitted), and

“if no alternative forum is available to the plaintiff, the court should be

extra cautious before dismissing the suit,” Makah, 910 F.2d at 560 (em-

phasis omitted). The Tribe’s sweeping legal theory flies in the face of

these principles, foreclosing judicial review altogether for entire catego-

ries of legal disputes.

      B.    The Public-Rights Exception Applies.

      Another, independent reason that this case should proceed is the

“public-rights exception”: the rule that courts will “refuse[ ] to require the

joinder of all parties affected by public rights litigation—even when those

affected parties have property interests at stake—because of the tight

constraints traditional joinder rules would place on litigation against the

government.” Conner v. Burford, 848 F.2d 1441, 1459 (9th Cir. 1988);

Opening.Br.60–66. The Tribe and the state defendants argue that this

rule does not apply because (1) Maverick has an economic stake in its

action and thus is not vindicating a public right; and (2) Maverick’s




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lawsuit would destroy the Tribe’s legal entitlements. Tribe.Br.54–57.

Both arguments fail.

     First, the fact that Maverick has a private, economic motivation for

bringing its claims does not mean that it is enforcing private rather than

public rights. Private-rights cases involve “‘the liability of one individual

to another under the law,’” whereas “public rights” cases involve the

rights and obligations “‘between the Government and persons subject to

its authority.’” Stern v. Marshall, 564 U.S. 462, 489 (2011). Accordingly,

this Court has explained that public rights include “the interest in being

governed by constitutional laws,” Shermoen, 982 F.2d at 1319, and the

government’s obligation “to follow statutory procedures,” Makah, 910

F.2d at 559 n.6. Maverick’s action is one to enforce public rights against

the government: its claims are that the state and federal defendants have

violated IGRA, the Constitution’s equal-protection guarantee, and the

anti-commandeering doctrine. ER-116–23. And count I raises those

claims under the APA, a classic font of public-rights litigation against the

government.

     The Tribe and state defendants are therefore wrong to rely on

American Greyhound Racing, Inc. v. Hull, 305 F.3d 1015 (9th Cir. 2002),

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which did not challenge federal agency action. There, this Court con-

cluded that the rights at issue were “more private than public” because

the plaintiffs’ interest was “in freeing themselves from the competition of

Indian gaming.” Id. at 1026. Maverick’s primary interest is not in free-

ing itself from the competition of class III Indian gaming; Maverick seeks

an equal competitive playing field, and would be happy to compete with

the Tribes were it not criminally prohibited from doing so. Rather, and

in contrast to American Greyhound, Maverick’s primary interest is in vin-

dicating the public right to equal treatment under the law by obtaining

relief against the state and federal defendants’ creation and maintenance

of an unlawful class III gaming monopoly.

     It makes no difference that Maverick has a private economic moti-

vation for bringing its public-rights claim. The plaintiffs in Shermoen

had an economic motivation for bringing a Takings Clause claim, but the

suit still involved “public rights.” 982 F.2d at 1316, 1319. Indeed, a plain-

tiff is constitutionally required to demonstrate that it has suffered a “‘par-

ticularized’” injury that “‘affect[s] the plaintiff in a personal and individ-

ual way’” to invoke a federal court’s jurisdiction under Article III. Spokeo,

Inc. v. Robins, 578 U.S. 330, 339 (2016). The public-rights exception does

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not paradoxically require a plaintiff to undermine its own standing by

demonstrating that it has no private interest in the suit.

     Second, a judgment in Maverick’s favor would not destroy the

Tribe’s private legal entitlements.         Rather, granting Maverick’s re-

quested relief would set aside the Secretary’s approval of the compact

amendments and would enjoin the state defendants from administering

the compacts (or from enforcing Washington’s criminal laws against Mav-

erick) because such actions violate IGRA and the Constitution. ER-123–

24. That relief involves the balance of public regulatory authority among

sovereigns, not private legal entitlements.

     Moreover, as the Supreme Court has explained, the public-rights

doctrine applies “where the rights asserted arise independently of any

contract which any adverse party may have made with another, not a

party to the suit, even though their assertion may affect the ability of the

former to fulfill his contract.” Nat’l Licorice Co. v. NLRB, 309 U.S. 350,

363 (1940). Even though the adjudication of public rights may have an

adverse practical impact on a nonparty’s contractual entitlements, a

court may nonetheless “proceed to judgment without joining other parties

to the contract, shaping its decree in such manner as to preserve the

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rights of those not before it.” Id. Accordingly, this Court applied the

public-rights exception to an order enjoining the federal government

“from permitting any surface-disturbing activity” on oil and gas leases

“until they have fully complied with NEPA and ESA” because the Court

“enjoin[ed] only the actions of the government; the lessees remain free to

assert whatever claims they may have against the government.” Conner,

848 F.2d at 1461. The fact that the order foreclosed the lessee’s contrac-

tual “ability to get ‘specific performance’” to compel the government to

permit surface disturbing activity “until the government complies with

NEPA and the ESA is insufficient to make the lessees indispensable to

this litigation.” Id.

      So too here. Maverick seeks only to set aside the Secretary’s un-

lawful approval of the compact amendments and to enjoin the state de-

fendants from administering the compacts and amendments. A judg-

ment in Maverick’s favor would not prejudge any claim that the Tribe

might have against the state or federal defendants. Tribe.Br.23–30. The

public-rights exception therefore applies.




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III. The Tribe Can Be Joined Because It Waived Its Tribal Im-
     munity By Intervening In This Suit.

     Alternatively, this suit should proceed because the Tribe waived its

immunity by intervening. Opening.Br.66–68. The weight of authority

holds that an immune sovereign’s “voluntary appearance in federal court

amount[s] to a waiver” of sovereign immunity, Lapides v. Bd. of Regents,

535 U.S. 613, 619 (2002), and that a “Tribe’s intervention constitutes con-

sent” to suit, United States v. Oregon, 657 F.2d 1009, 1014 (9th Cir. 1981).

This Court should follow that reasoning here.

     The Tribe and the defendants do not contest that intervention on

the merits waives sovereign immunity, but they contend that this Court

permits tribes to selectively invoke the jurisdiction of federal courts to

obtain dismissal of cases without waiving their immunity. Tribe.Br.45–

47. That is incorrect. In Dine Citizens, it was “undisputed” that the ab-

sent tribal entity had not waived its immunity, so there was no need for

the Court to consider whether its intervention constituted a waiver. 932

F.3d at 856. The same was true in Backcountry Against Dumps v. Bureau

of Indian Affairs: “Backcountry d[id] not challenge the district court’s de-

termination that the Band cannot be joined because of its sovereign im-

munity.” 2022 WL 15523095, at *1 (9th Cir. Oct. 27, 2022). In Klamath,
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the Court held only that the McCarran Amendment had not waived the

Tribes’ sovereign immunity; the Court did not consider whether the

Tribes waived their immunity by voluntarily intervening. 48 F.4th at

945. And Bodi v. Shingle Springs Band of Miwok Indians held only that

a Tribe that has been sued in state court does not waive its sovereign

immunity by removing to federal court “to have its immunity defense

heard in a federal forum.” 832 F.3d 1011, 1018 (9th Cir. 2016). The case

did not address whether a tribe waives its sovereign immunity by volun-

tarily intervening in an action.

     To the contrary, this Court has held that a Tribe cannot intervene

“to establish and protect its treaty fishing rights” and then turn around

and “claim[ ] immunity” from an order enjoining fishing to conserve an

endangered species. Oregon, 657 F.2d at 1014 (Kennedy, J.). “Otherwise,

tribal immunity might be transformed into a rule that tribes may never

lose a lawsuit.” Id. That is exactly what happened here. As in Oregon,

the Tribe intervened to “protect” its “interest in its Compact.” FedSER-

11. The Tribe then weaponized its sovereign immunity to obtain dismis-

sal of Maverick’s claims under Rule 19. The Tribe’s weaponization of

sovereign immunity and Rule 19 would result in the very trump-card that

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then-Judge Kennedy cautioned against in Oregon—namely that, when-

ever litigation threatens tribal interests, the Tribe must always win.

       The Tribe also argues that the cases Maverick relies on involved

waivers of immunity effected through litigation conduct other than inter-

vention. Tribe.Br.46–47. But the rule in Lapides does not depend on

such distinctions: an immune sovereign may not “invoke federal jurisdic-

tion” and simultaneously assert sovereign immunity. 535 U.S. at 619.

Intervention, removal, and “filing an original action in federal court” are

merely different “mechanism[s] for invoking the federal court’s jurisdic-

tion,” and “[t]here is no reason to think” that the use of a particular mech-

anism “carries [more or] less force for waiver purposes.” Bd. of Regents

v. Phoenix Int’l Software, Inc., 653 F.3d 448, 461–62 (7th Cir. 2011). Be-

cause the Tribe voluntarily invoked the district court’s jurisdiction to in-

tervene in Maverick’s action, it necessarily waived its sovereign immun-

ity.




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                               CONCLUSION

     This Court should reverse and remand for the district court to con-

sider Maverick’s claims on the merits.


Dated: October 23, 2023                     Respectfully submitted,

                                             /s/ Theodore B. Olson
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